     Case: 1:22-cv-01032 Document #: 26 Filed: 06/14/22 Page 1 of 1 PageID #:432

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Jane Doe
                                       Plaintiff,
v.                                                        Case No.: 1:22−cv−01032
                                                          Honorable John F. Kness
University Of Chicago, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 14, 2022:


        MINUTE entry before the Honorable John F. Kness: Defendants' Unopposed
Motion for extension of time to file [23] is granted. The joint initial status report must be
filed on or before 6/15/2022. Plaintiff's motion to seal [25] is denied without prejudice to
later renewal. Plaintiff has not provided any legal or other analysis showing why the
presumption that court filings should be publicly available is overcome by Defendants'
oblique reference to religious holidays. This is especially so given that Plaintiff herself
noted she was unable to draft her motion to seal until this past weekend for "personal and
professional reasons," including Plaintiff's "religious observance." Plaintiff may refile the
motion if she believes she can meet the Seventh Circuit's exacting standard for the sealing
of court filings. Mailed notice(ef, )




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